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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 JARRID BERRY,                                      )
                                                    )
         Plaintiff,                                 )
                                                    ) Case No. 4:21-CV-00132
 v.                                                 )
                                                    )
 CITY OF ST. LOUIS, et al.,                         )
                                                    )
         Defendants.                                )
                                                    )

                                     NOTICE OF SETTLEMENT

        COME NOW Plaintiff Jarrid Berry and Defendants City of St. Louis, et al., and hereby
notify the Court that the parties have reached a settlement.
       WHEREFORE, parties respectfully request the Court pass this matter for sixty (60) days
to finalize settlement.
                                              Respectfully submitted,

                                              NIEMEYER, GREBEL & KRUSE, LLC

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AND
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                                               Respectfully submitted,

                                               SHEENA HAMILTON
                                               CITY COUNSELOR

                                                  /s/ Abby Duncan
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                                               Attorneys for Defendants


                                CERTIFICATE OF SERVICE

     I hereby certify that the foregoing was filed on November 14, 2022, and served via the Court’s
electronic filing system upon all counsel of record.


                                                  /s/ Abby Duncan
                                                Abby Duncan
                                                Associate City Counselor
